                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


    IN RE:                              )
                                        )     Case No. 3:10-bk-01333
    DAINON TARQUINIUS SIDNEY,           )     Judge Harrison
                                        )     Chapter 13
                                        )
                Debtor,                 )
    ________________________            )     Relief From Stay to Enforce Lien
                                        )
    COMMUNITY FIRST BANK                )
    & TRUST,                            )
                                        )     HEARING SET: September 26, 2011
          Secured Claimant,             )
    ________________________________________________________________________

       Affected Collateral: 1,000 Shares of Community First Bank & Trust, Certificate
        # 7660 and 1,667 Shares of Community First Bank & Trust, Certificate # 8027
    ________________________________________________________________________

              ORDER GRANTING RELIEF FROM AUTOMATIC STAY
    ________________________________________________________________________

             The Secured Claimant identified above has moved for relief from the automatic

    stay in 11 U.S.C. § 362(a) with respect to the “Affected Collateral.” Either no timely

    opposition was filed or any objection raised with withdrawn or overruled by the Court at

    the Scheduled Hearing.

             IT IS ORDERED that the automatic stay in 11 U.S.C. § 362(a) is terminated with

    respect to the Secured Claimant and its Affected Collateral.

             IT IS FURTHER ORDERED that the stay in Fed.R.Bankr.P. 4001(a)(3) does not

    apply.


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    THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS INDICATED
                      AT THE TOP OF THE FIRST PAGE


    APPROVED FOR ENTRY:

    /s/ David M. Anthony
    David M. Anthony
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    Attorneys for Community First Bank & Trust

                                CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and exact copy of the foregoing has
    been served via electronic mail/ECF and/or United States Mail, first class, postage
    prepaid to the following persons:

             Edgar M. Rothschild, III
             Mary Elizabeth Ausbrooks
             Rothschild & Ausbrooks
             1222 16th Avenue South, Suite 12
             Nashville, TN 37212-2926

             Henry Edward Hildebrand, III
             P.O. Box 190664
             Nashville, TN 37219-0664

             U.S. Trustee
             701 Broadway, Suite 318
             Nashville, TN 37203

    this 26th day of September, 2011.

                                                /s/ David M. Anthony
                                                David M. Anthony




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